                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

DO NO HARM,                                  )
                                             )
        Plaintiff,                           )
                                             )
   v.                                        )   Case No. 3:23-cv-01175
                                             )
WILLIAM LEE, in his official capacity as     )
Governor of the State of Tennessee,          )
                                             )
        Defendant.                           )

______________________________________________________________________________

                 DEFENDANT’S MEMORANDUM IN SUPPORT
               OF MOTION TO DISMISS AMENDED COMPLAINT
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                                          INTRODUCTION

       The case should be dismissed for lack of subject matter jurisdiction because Plaintiff has

not adequately alleged any cognizable injury on behalf of its members or itself. Plaintiff Do No

Harm—a non-profit organization based in Virginia and comprised of students, policymakers, and

medical professionals—challenges two Tennessee statutes that call for the Governor to “strive to

ensure” that at least one member of various boards and commissions is a member of a racial

minority. See Tenn. Code Ann. § 8-1-111; id. § 63-3-103(b). Plaintiff contends that the challenged

laws violate the Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution, and that the laws prevent its licensed podiatrist members from filling positions on

the Tennessee Board of Podiatric Medical Examiners (“Board”).

       Where, as here, an organization seeks standing on behalf of its members, the organization

must name a member that has standing. Plaintiff’s Amended Complaint, which alleges a Member

A and Member B, fails on its face to “name the individuals who were harmed,” as required in the

Sixth Circuit. See Tenn. Repub. Party v. Secs. & Exchange Comm’n, 863 F.3d 507, 520 (6th Cir.

2017) (“Such specificity requires that the plaintiff-organization ‘name the individuals who were

harmed.’” (quoting Summers v. Earth Island Institute, 555 U.S. 488, 498 (2009)).

        Furthermore, even if Plaintiff eventually identifies a member, no member suffers any

harm from the challenged statutes.      Dr. Bhekumuzi Khumalo, an African-American, was

reappointed to the Board before Plaintiff filed this suit. Because “at least one member” of the

Board is a member of a racial minority, the challenged laws have no bearing on foreseeable

openings until at least 2027. Moreover, there are no current openings on the Board for which

Member A is eligible, nor are there any scheduled openings until June 2025. Plaintiff therefore

has not and cannot satisfy the “irreducible constitutional minimum of standing.” Lujan v. Defs. of



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Wildlife, 504 U.S. 555, 560 (1992). For all these reasons, Defendant respectfully requests the

matter be dismissed.

                                  STATEMENT OF THE CASE

         The Board

         The Board is statutorily created and has authority to regulate the practice of podiatry, the

treatment of foot- and ankle-related ailments, in Tennessee. Tenn. Code Ann. § 63-3-106. It

consists of six members. Am. Compl., ECF 23, ¶ 21. Four of these members are licensed

podiatrists with at least two years of practice in Tennessee. Id. A fifth member must be a licensed

orthotist, prosthetist, or pedorthist. Id. And its sixth member must not engage in any conduct

regulated by the Board, a so-called “citizen member.” Id.; see Tenn. Code Ann. § 63-1-124.

         Members of the Board are appointed by the Governor to four-year terms. Tenn. Code Ann.

§ 63-3-103(b). Two seats on the board became vacant at the end of June 2023, due to the expiration

of the members’ terms. Am. Compl., ¶ 24. On November 1, Governor Lee filled one of those

vacancies by reappointing Dr. Bhekumuzi Khumalo to a four-year term. Ex. A, Dr. Khumalo

Appt. Ltr.1; Bd. Member Details, Dr. Khumalo, Tenn. Sec’y of State, http://tinyurl.com/584e88mj

(last visited Feb. 2, 2024); Dr. Khumalo Oath of Office, http://tinyurl.com/5n7hu7vc (last visited

Feb. 2, 2024).2 And for the second vacancy, he appointed Dr. Aaron Sorensen, also for a four-

year term. Ex. B, Dr. Sorensen Appt. Ltr.; Bd. Member Details, Dr. Sorensen, Tenn. Sec’y of




1
  All referenced exhibits are attached to the concurrently filed Declaration of Reed N. Smith.
2
  Information that is available on government websites is self-authenticating pursuant to Rule 902
of the Federal Rules of Evidence, and “courts may accordingly take judicial notice of the
information found on these websites.” Oak Ridge Env’t Peace All. v. Perry, 412 F. Supp. 3d 786,
810 n.6 (E.D. Tenn. 2019) (citing Demis v. Sniezek, 558 F.3d 508, 513 n.2 (6th Cir. 2009) (taking
notice of government website); and Newton v. Holland, No. 13-61, 2014 WL 318567, at *1 (E.D.
Ky. Jan. 29, 2014) (collecting cases)).


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State, http://tinyurl.com/yc8yz4r7 (last visited Feb. 2, 2024); Dr. Sorensen Oath of Office,

http://tinyurl.com/y5dmjksk (last visited Feb. 2, 2024). With those appointments, there are no

openings for a licensed practitioner on the Board, and no current practitioner’s term expires until

June 30, 2025.     Bd. of Pod. Med. Examiners: Bd. Members List, Tenn. Dep’t of Health

http://tinyurl.com/38aa627e (last visited Dec. 28, 2023) (showing term expiration dates).3 The

only remaining opening is for the statutorily reserved citizen member. Id.4

         Do No Harm

         Do No Harm is a “national nonprofit corporation” membership organization headquartered

in Glen Allen, Virginia, comprised of “medical professionals, students, and policymakers.” Am.

Compl., ¶ 9. Do No Harm alleges that “Member A” is a Tennessee-licensed podiatrist and

“Member B” is simply a Tennessee citizen who is not “subject to regulation by the Board.” Id.

¶ 10-11. Neither is “a member of a racial minority,” and both live in the State and are “qualified,

ready, willing, and able to be appointed” to the Board, Member B as a citizen member. Id.

         Do No Harm challenges two statutes pertaining to Executive Branch appointments. First,

Tenn. Code Ann. § 8-1-111, which requires that for appointments to “governing or advisory

entities of the executive branch of state government, the governor shall strive to ensure that at least

one (1) such citizen serving . . . is a member of a racial minority.” And second, specific to this

case, Tenn. Code Ann. § 63-3-103(b) encourages that same striving for appointments to the Board.




3
  See Perry, 412 F. Supp. 3d at 810.
4
  Plaintiff alleges that the Tennessee Secretary of State website indicates that the citizen position
is filled. See Am. Compl. ¶ 29. Defendant Board concedes that as of filing of the Amended
Complaint, the citizen position remained vacant, as indicated on its website. See id. ¶ 30.


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                             MOTION TO DISMISS STANDARD

       Federal Rule of Civil Procedure 12(b)(1) allows “for the dismissal of an action for lack of

subject matter jurisdiction,” Cartwright v. Garner, 751 F.3d 752, 759 (6th Cir. 2014), which

includes “Article III standing . . . question[s],” Am. VioCare Inc. v. Howard & Howard Att’ys

PLLC, 702 F. App’x 416, 419 (6th Cir. 2017). A 12(b)(1) motion to dismiss “can challenge the

sufficiency of the pleading itself (facial attack) or the factual existence of subject matter

jurisdiction (factual attack).” Cartwright, 751 F.3d at 759.

       “When reviewing a facial attack, a district court takes the allegations in the complaint as

true” subject to the same plausibility standards governing “12(b)(6) motions to dismiss.” Genteck

Bldg. Prods., Inc. v. Sherwin-Williams Co., 491 F.3d 320, 330 (6th Cir. 2007). While this Court

accepts the truth of Plaintiff’s allegations on a facial challenge, “[c]onclusory allegations or legal

conclusions masquerading as factual allegations will not suffice.” Eidson v. Tenn. Dep’t of

Children’s Servs., 510 F.3d 631, 634 (6th Cir. 2007). But for factual attacks, courts “weigh

evidence to confirm the existence of the factual predicates for subject-matter jurisdiction.”

Carrier Corp. v. Outokumpu Oyj, 673 F.3d 430, 440 (6th Cir. 2012) (citations omitted); Gentek,

491 F.3d at 330 (citations omitted) (allowing consideration of “affidavits, documents, and even a

limited evidentiary hearing”).     And for either, this Court must “presume that [it] lack[s]

jurisdiction,” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 n.3 (2006), for “the

plaintiff . . . [must] prov[e] jurisdiction” exists “to survive the motion,” Rogers v. Stratton Indus.,

Inc., 798 F.2d 913, 915 (6th Cir. 1986) (emphasis in original).




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                                           ARGUMENT

       “The doctrine of standing is a threshold constitutional question of justiciability.” Mason

v. Adams Cnty. Recorder, 901 F.3d 753, 756 (6th Cir. 2018). Standing requires a plaintiff to show

“(1) an injury in fact, (2) fairly traceable to the challenged conduct of the defendant, (3) that is

likely to be redressed by the requested relief.” FEC v. Cruz, 142 S. Ct. 1638, 1646 (2022). To

confer standing, an injury must be particular to the plaintiff; the Supreme Court “repeatedly has

rejected claims of standing predicated on the right, possessed by every citizen, to require that the

Government be administered according to law.” Valley Forge Christian Coll. v. Ams. United for

Separation of Church & State, Inc., 454 U.S. 464, 482-83 (1982) (quotations omitted).

       Here, Plaintiff fails to show that the challenged statutes cause any cognizable injury to an

identified member or to itself. It therefore lacks standing, and the Court should dismiss this suit.

I.     Do No Harm Does Not Have Standing on Behalf of Its Members.

       Do No Harm appears to rely primarily on associational standing. See Am. Compl., ¶ 6

(“bring[ing] this lawsuit to vindicate its members’ constitutional rights” (emphasis added)). For

associational standing, an organization must show that “its members would otherwise have

standing to sue in their own right”; the “interests” that the suit “seeks to protect are germane to the

organization’s purpose”; and “neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Students for Fair Admissions, Inc. v.

President & Fellows of Harvard Coll., 600 U.S. 181, 199 (2023) (quoting Hunt v. Wash. State

Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)); Ass’n of Am. Physicians & Surgeons v.

USFDA, 13 F.4th 531, 537 (6th Cir. 2021) (same).

       Plaintiff as an organization fails at step one of these requirements in two primary ways:

First, facially, Do No Harm’s amended complaint fails to identify any injured members. And



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second, factually, no injury exists to its members because the Board currently has no open seats

affected by the statutes. For either reason, this Court should grant Defendant’s motion to dismiss.

        A.      Plaintiff Fails to Identify Any Member That Has Been Injured.

        Associational standing’s first element requires that Plaintiff “must do more than identify a

likelihood that” Defendant “will harm an unknown member.” Ass’n of Am. Physicians, 13 F.4th

at 543. It must have instead “identif[ied] a member who has suffered (or is about to suffer) a

concrete and particularized injury from the defendant’s conduct.” Id. Just a “possib[ility] . . . that

one individual will meet all of th[e] criteria . . . does no suffice.” Summers, 555 U.S. at 499. After

initially failing to identify any injured members, Compl., ECF 1, ¶ 21. (“[O]ne or more members

[is] qualified, willing, and able to be appointed to the Board.”), Plaintiff again fails to identify any

injured members and relies on unidentified members designated “Member A” and “Member B,”

Am. Compl., ¶¶ 10-11.

        Reliance on unnamed, unidentified, and unknown members necessarily fails to meet the

requirement that an organizational plaintiff “identify a member” that has a cognizable injury.

Ass’n of Am. Physicians, 13 F.4th at 543; see also Protecting Air for Waterville v. Ohio Env’t Prot.

Agency, 763 F. App’x 504, 507–08 (6th Cir. 2019) (“We cannot simply assume that petitioners

have members who would be affected by the compressor stations’ emissions; petitioners were

required to . . . demonstrat[e] that identified members of their organizations had, or would

imminently, suffer a sufficiently concrete injury.”). Plainly, Do No Harm “must show that one of

its named members” has standing. Waskul v. Washtenaw Cnty. Cmty. Mental Health, 900 F.3d

250, 255 (6th Cir. 2018).

        An allegation that “Member A” or “Member B” has standing is not materially different

than simply asserting that some members or a member has standing—such pleadings are routinely



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dismissed. See, e.g., Ass’n of Am. Physicians, 13 F.4th at 543; Mich. Ass’n of Pub. Sch. Acads. v.

United States Dep’t of Educ., No. 1:22-CV-712, 2023 WL 8533456, at *4 (W.D. Mich. Dec. 6,

2023) (holding that a pleading that “one [] member is a developer that seeks to expand its existing

public charter schools program in 2024” was insufficient “to identify which of their

members . . . suffered an injury”); Friends of Georges, Inc. v. Mulroy, No. 2:23-CV-02163, 2023

WL 3790583, at *10 (W.D. Tenn. June 2, 2023) (rejecting associational standing where

organization asserted its members “could be prosecuted under a plain reading of the AEA” because

“it has not named a single individual member”).

       If Plaintiff’s generic descriptions suffice for standing, then associational standing’s naming

requirement becomes dead letter for all practical purposes, allowing any organization to “proceed

to discovery in nearly every case.” Prairie Rivers Network v. Dynegy Midwest Generation, 2 F.4th

1002, 1010 (7th Cir. 2021). Not even the usual pseudonym standards would require those

unknown members to move for anonymity, because they are not parties here under Fed. R. Civ. P.

Rule 10(a). See Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004) (quoting Rule 10(a)) (listing

factors when permitting pseudonymous “parties”). Instead, this requirement ensures every judge

has jurisdiction over a named individual before enjoining a duly enacted law. Summers, 555 U.S.

at 493. “[S]urely” providing names is “not a difficult task” if truly injured members exist,

Summers, 555 U.S. at 499, but Do No Harm failed that task again on round two.

       Nor does Plaintiff satisfy the singular exception to this requirement, which is “where all

the members of the organization are affected by the challenged activity.” Id. at 498-99 (emphasis

in original). Plaintiff did not, and cannot, allege that the challenged statutes affect all its members.

This is no mere pleading deficiency; as a “national nonprofit corporation,” with a Virginia

headquarters, Am. Compl., ¶ 9, the allegations strongly suggest that Plaintiff has members outside



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of Tennessee, all of which would have to be “able and ready” to apply for a Board position—not

plausible. Ne. Fla. Chapter of Assoc. Gen. Contractors of Am. v. City of Jacksonville, 508 U.S.

656, 666 (1993). Accordingly, the Court should hold that Do No Harm has failed to sufficiently

allege standing on behalf of its members.

        B.     No Member Has a Cognizable Injury.

        Even assuming anonymous pleadings satisfy the requirement to identify a named member,

neither Member A nor Member B have standing factually. With Plaintiff seeking prospective

relief, it must show a present harm, not mere exposure to past illegal conduct. Sumpter v. Wayne

Cnty., 868 F.3d 473, 491 (6th Cir. 2017); see also Pucci v. Mich. Supreme Ct., 601 F. Supp. 2d

886, 896-97 (E.D. Mich. 2009) (holding that suit regarding a plaintiff’s eligibility for a court

administrator position was “hypothetical” because “[t]he court administrator position is currently

filled”).

               1. All practitioner seats are filled.

        For Member A, who is allegedly “a licensed podiatrist in Tennessee,” there is no current

opening on the Board. Governor Lee has already filled the Board’s two vacant practitioner seats,

appointing Drs. Khumalo and Sorensen in November 2023. Those practitioners have signed their

oaths of office and have entered four-year terms, leaving no practitioner seat open again until at

least June 30, 2025, when the next practitioner member’s term expires. See Bd. Members,

http://tinyurl.com/38aa627e. With no vacancies on the Board until June 2025, Plaintiff and its

members do not face “imminent” harm sufficient to invoke the Court’s jurisdiction.

               2. Conclusory allegations that Member B is eligible are insufficient.

        Although the Board does have an opening for a citizen seat, Member B also has failed to

allege standing. The Amended Complaint asserts in conclusory fashion that Member B does not



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engage in any profession, business, or activity subject to regulation by the Board. The Amended

Complaint does not identify what Member B does, so it is impossible to judge the plausibility of

that claim. This is precisely the type of “formulaic recitation” that courts routinely reject. Ass’n

of Cleveland Fire Fighters v. City of Cleveland, 502 F.3d 545, 548 (6th Cir. 2007) (“A plaintiff

must demonstrate ‘more than labels and conclusions, and a formulaic recitation of the elements of

a cause of action will not do.’” (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)));

compare Tenn. Code Ann. § 63-1-124 with Am. Compl., ¶ 11.

               3. No openings prior to June 2027 are affected by the challenged statutes.

       Furthermore, neither the mysterious Member A nor Member B have standing because no

foreseeable openings for the Board are subject to the challenged acts until at least 2027. Plaintiff

must allege that there would be a barrier to their appointment on the Board due to the challenged

acts. See City of Jacksonville, 508 U.S. at 666 (“The ‘injury in fact’ in an equal protection case of

this variety is the denial of equal treatment resulting from the imposition of the barrier, not the

ultimate inability to obtain the benefit.”). Under the challenged laws, the General Assembly asks

the Governor to “‘strive to ensure’ that one of the current openings on the Board is filled by a racial

minority.” Am. Compl., ¶ 22 (quoting Tenn. Code §§ 8-1-111, 63-3-103(b)) (emphasis added).

Dr. Khumalo, who is African American, was reappointed to a four-year term on the Board on

November 1, 2023 “effective immediately.” Ex. A. Because the Board currently has a member

who belongs to a racial minority, any Board openings are open to all qualified and interested

persons, leaving no barrier to entry and no unequal treatment for those desiring positions on the

Board before Dr. Khumalo’s term ends on June 30, 2027.

       In short, the challenged laws have no bearing on the filling of the remaining open citizen

member seat. Thus, none of Plaintiff’s “qualified, willing, and able” members, Am. Compl., ¶¶ 35-



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36, can suffer any harm attributable to the challenged statutes before June 2027, when Dr.

Khumalo’s term ends. Ass’n of Am. Physicians, 13 F.4th at 543. This is true regardless of whether

the previously filled seats were “race-conscious appointments.” Am. Compl., ¶ 4. Plaintiff must

demonstrate a current harm, not mere exposure to past illegal conduct. Sumpter, 868 F.3d 473,

491 (6th Cir. 2017).

               4. Any distant future injury is unripe.

       Because Plaintiff relies on an injury that may never occur and is not foreseeable until 2027,

even if the injury is cognizable, the case is not ripe. “Ripeness separates those matters that are

premature because the injury is speculative and may never occur from those that are appropriate

for the court’s review.” Safety Specialty Ins. Co. v. Genesee Cnty. Bd. of Educ., 53 F.4th 1014,

1020 (6th Cir. 2022) (citation omitted). A case is appropriate for review only “if the probability

of the future event occurring is substantial and of ‘sufficient immediacy and reality to warrant the

issuance of a declaratory judgment.’” Magaw, 132 F.3d at 284 (quoting Golden v. Zwickler, 394

U.S. 103, 108 (1969)).

       “Where claims are not ripe, federal courts lack subject matter jurisdiction and the complaint

should be dismissed.” Middlebrooks v. Parker, No. 3:19-CV-01139, 2020 WL 107106, at *4

(M.D. Tenn. Jan. 8, 2020) (Campbell, J.) (quoting Tri-Corp Mgmt. Co. v. Praznik, 33 F. App’x

742, 745 (6th Cir. 2002)); see also Briggs v. Ohio Elections Comm’n, 61 F.3d 487, 493 (6th Cir.

1995) (“This court is also obliged under Article III to limit its jurisdiction to ripe cases, to avoid

issuing advisory opinions based upon hypothetical situations.”). Here, Plaintiff asks the court to

look three and a half years into the future, when Dr. Khumalo’s term expires. Such prophecies

regarding events well into the future are prone to lead to impermissible advisory opinions. Here,

the alleged harm may thus never come to pass. For example, “Member A” may no longer be ready,



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willing, and able to serve on the Board in three and a half years; the General Assembly may amend

the challenged statutes before that time; or the Board’s appointment requirements may change. In

the meantime, neither “Member A” nor “Member B” would suffer any harm. They may compete

for openings on the Board on the same terms as anyone else.

        Accordingly, the Court should hold that the case is not ripe for review.

II.     Plaintiff Has No Injury on Behalf of Itself.

        It is unclear from the Amended Complaint whether Plaintiff Do No Harm continues to

bring suit on behalf of itself as well as its members. To the extent that it does, it also lacks standing.

Organizational plaintiffs like Do No Harm must establish standing through “the same inquiry” that

applies to “individual[s]” where the organization suffers harm itself. Havens Realty Corp. v.

Coleman, 455 U.S. 363, 378 (1982). Here, the organization itself could never be eligible for a seat

on the Board, negating any injury to itself.

        Plaintiff alleges a generalized interest in “vindicat[ing] its members’ constitutional rights,”

“ensur[ing] that every qualified podiatrist and qualified citizen in Tennessee has the equal right to

serve on the Board,” and “ensur[ing] that Tennesseans are regulated by a Board that is not selected

on the basis of race.” Am. Compl., ¶ 6. But such claims are an impermissible challenge to “laws

of general application where [Plaintiff’s] own injury is not distinct from that suffered in general

by other taxpayers or citizens.” Johnson v. Bredesen, 356 F. App’x 781, 784 (6th Cir. 2009)

(quoting Hein v. Freedom from Religion Found., Inc., 551 U.S. 587, 598 (2007)). The Supreme

Court “repeatedly has rejected claims of standing predicated on ‘the right . . . to require that the

Government be administered according to law.’” Valley Forge Christian Coll., 454 U.S. at 482-

83 (quotations omitted); see also Lujan, 504 U.S. at 576-77 (holding that the “public interest in

proper administration of the laws” is not sufficiently particularized to create Article III standing).



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       Likewise, cases involving Tennessee’s appointment of appellate judges have been

dismissed for lack of standing, being “‘precisely the kind of undifferentiated, generalized

grievance about the conduct of government that [the Supreme Court] ha[s] refused to countenance

in the past.’” See Moncier v. Haslam, 1 F. Supp. 3d 854, 859 (E.D. Tenn. 2014) (quoting Lance

v. Coffman, 549 U.S. 437, 442 (2007) (alterations in Haslam)) (challenging appointment of

appellate judges); see also Johnson, 356 F. App’x at 784 (challenging appointment of supreme

court justices). Without more, Plaintiff complains of no cognizable injury to itself.

                                             CONCLUSION

       For the foregoing reasons, this Court should grant Defendant’s motion to dismiss for lack

of standing.




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                                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served via

this Court’s electronic filing system on this 2nd day of February 2024.

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